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(()ff“lcial Form 1) (12/03)

 

FORM Bl

grease

District of Oregon

United States Bankruptcy Court

§Voluntary Petition

05~`3698

 

 

Name of Debtor (ii individual, enter Last, First, Middle):
Baird, Gregg Chapman

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

All ()ther Names used by the Debtor in the last 6 years

(include married, maiden, and trade naines):

All Other Names used by the Joint Debtor in the last 6 years

(include married, maiden, and trade names):

 

NO. (if more than one, state all)! 7857

Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.

Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.
NO. (if more than one, state all)!

 

Street Address of Debtor (No. & Street, Ci'ty, State & Zip Code):
607 NE Fremont St
Pol't|and, OR 97212-2154

Street Address of Joint Debtor (No. & Street, Ciiy, State & Zi'p Code):

 

County of Residence or of the

Principal Place ofBusiness: N|ultnomah

County of Residence or of the
Principal Place ofBusiness:

 

Mailltlg Addl‘€SS OFD€b'[OI` (if different from street address):

 

Mailing Address of Joint Debtor (if different from street address):

 

Location of Principal Assets of Business Debtor
(it` different from street address above)i

 

Venue (Check any applicable box)

Information Regarding the Debtor (Check the Applicable Boxes)

Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.
l:l There is a bankruptcy case concerning debtor’s aft'iliate, general partner, or partnership pending in this District.

 

Type of Debtor (Check all boxes that apply)
IY{ individuai(§) El Raiir<>ad

Corporation i:l Stockbroker
l:l Partnership l:l Commodity Broker
[l Other l:l Clearing Bank

 

Nature of Deth (Check one box)
ij Consumer/Non~Business fl Business

Chapter or Section ofBankruptcy Code Under Whicli
the Petition is Filed (Check one box)

ij Chapter 7 l:l Chapter 11 l:l Chapter 13
i:l Chapter 9 i:l Chapter 12
[:l Sec. 304 - Case ancillary to foreign proceeding

 

 

Chapter 11 Small Business (Checl< all boxes that apply)
l:l Debtor is a small business as defined in 11 U.S.C. § 101
l:l Debtor is and elects to be considered a small business under
11 U.S.C. § 1121(e) (Optional)

Filing Fee (Check one box)

ij Full Filing Fee attached

l:l Filing Fee to be paid in installments (applicable to individuals only)
Must attach signed application for the court’s consideration
certifying that the debtor is unable to pay fee except in installments
Rule 1006(b). See Oft`icial Forin No. 3.

 

 

 

 

 

 

 

 

 

Statistical/Administrative Information (Estimates only) THIS SPAC§ 15 §-QR COURT USE ONLY 0
I> §§ . re
i:i Debtor estimates that funds Will be available for distribution to unsecured creditors 5 §§ § §
ij Debtor estimates that, after any exempt property is excluded and administrative expenses \ ‘ i">}§: ' ",'?"‘
paid, there Will be no funds available for distribution to unsecured creditors x {;_~ 4a1
¢\ ky § am m
_ _ 1-15 16-49 50»99 100»199 200-999 1000-over \_ L:`Y § §
Estimated Number of Creditors E [:] m m g .._. w tx
i` h ’?5
Estimated Assets j § )` ~»U 3
$0 to $50,001 iu Sioo,OOi co 5500,001 to Si,000,001 re 310,000,001 co $50,000,001 to More than j~:‘ .;;~. ` ::
350,000 $100,000 $500,00() $1 million 310 million $50 million $100 million $100 million g g ij »~' <~,
l:l l:l l:l l:l [:l l:] l:l j \§`\j w §
§ in
Estimated Debts d
$O to $50,001 to $100,001 to 5500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,0 0 $500,000 $1 million $10 million $50 million $10() million $100 million
l:l 12 l:l l:l l:l [:l E l:l
voLuNTARY PETiTioN

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(orncial Form 1) (12/03)

FORM Bl, Page 2

 

Voluntary Petition
(T his page must be completed and fled in every case)

Narne of Debtor(s):
Baird, Gregg Chapman

 

Location
Where Filed: None

Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)

Case Number: Date Filed:

 

Pending Bankruptcy Case Filed by any Spouse, Partner or

Affiliate of this Debtor (If more than one, attach additional sheet)

 

 

 

I declare under penalty of perjury that the information provided in this
petition is true and correct.

[If petitioner is an individual whose debts are primarily consumer
debts and has chosen to tile under Chapter 7] l am aware that I may
proceed under chapter 7, 11, 12 or 13 of title 11, United State Code,
understand the relief available under each such chapter, and choose to
proceed under chapter 7.

l request relief in accordance with the chapter of title 11, United States

Code, specified in t 's petition _
)< it z <1(%<~?

Signature ofDebtor al § d Gregg C. Bail'd
X

Signature of Joint Debtor

 

 

Telephone Number (If not represented by attomey)
,./
f> ' 3 "' §§

Date

Narne of Debtor: Case Number: Date Filed:
None
District: Relationship: Judge:
Sig natu res
Signature(s) of Debtor(s) (Individual/Joint) Exhibit A

(To be completed if debtor is required to tile periodic reports

(e.g., forms l()K and IOQ) with the Securities and Exchange

Commission pursuant to Section 13 or lS(d) of the Securities
Exchange Act of 1934 and is requesting relief under chapter 11)

l:l Exhibit A is attached and made a part of this petition

 

Exhibit B
(To be completed if debtor is an individual
whose debts are primarily consumer debts)
I, the attorney for the petitioner named in the foregoing petition,
declare that l have informed the petitioner that [he or she] may proceed
under chapter 7,11 12, or 13 of title 11, United States Code, and have

 

expla1 d the relief available under each such chaper
§ A//
aaa adage firm
Signature of Attomey for Debtor(s) Date

 

 

atur of Attorney

§

int t

XSignature of Attomey for Debtor(s) §/

Amanda Bai|ey 00315
Printed Name of Attomey for Debtor(s)

Vanden Bos & Chapman LLP

Firm Name

319 SW Washington St Ste 520
Address

Port|and, OR 97204-2620

\_j

 

(503) 241 -4869

Telephone£;})l?b;:?/ § {,V(/

Date

Exhibit C
Does the debtor own or have possession of any property that poses or
is alleged to pose a threat of imminent and identifiable harm to public
health or safety?

l:l Yes, and Exhibit C is attached and made a part of this petition
No

 

Signature of Non-Attorney Petition Preparer
I certify that 1 am a bankruptcy petition preparer as defined in 11
U.S.C. § 110, that I prepared this document for compensation, and that
1 have provided the debtor with a copy of this document

 

Printed Name of Bankruptcy Petition Preparer

 

Social Secuxity Number (Required by 11 U.S.C. § 110(c),)

 

Address

 

Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this
petition is true and correct, and that l have been authorized to file this
petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11,
United States Code, specified in this petition

X

Signature cf Authorized Individual

 

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

 

Names and Social Security numbers of all other individuals Who
prepared or assisted in preparing this document:

If more than one person prepared this document, attach additional
sheets conforming to the appropriate official form for each person

X

Signature of Bankruptcy Petition Preparer

 

 

Date

A bankruptcy petition preparer’s failure to comply with the provisions
of title 11 and the Federal Rules of Bankruptcy Procedure may result
in fines or imprisonment or both ll U.S.C. § 110; 18 U.S.C. § 156.

 

 

VDLUNTARY PE?|TION

Case 05-36984-tmb7

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United States Bankruptcy Court
District of Oregon

IN RE: Case No.
Baird, Gregg Chapman

EXHIBIT “C”

[Ifnot an Ex. on Petition Pg. 2, then to
Debtor(s) be FULLY completed by ALL debtors

and attached to ALL copies of the Petition.]
(NOTE: You must answer ALL questions. Attach additional sheets if necessary. Use of “UNKNOWN” is NOT acceptable!)

1 Identify and briefly describe all real or personal property owned by or in possession of the debtor that, to the best of the
debtor s knowledge, poses or is alleged to pose a threat of imminent and identifiable harm to the public health or safety:
None

2. With respect to each parcel of real property or item of personal property identified in question 1, describe the nature and
location of the dangerous condition, whether environmental or otherwise, that poses or is alleged to pose a threat of
imminent and identifiable harm to the public health or safety: None

 

3. DESCRIBE ASSETS REQUIRING TRUSTEE'S IMMEDIATE ATTENTION: None

 

4. Street address of principal assets (note property): 607 NE Fremont St
Portland, OR 97212-2154

 

5. [lf debtor(s) an individual] ls debtor(s), Q_B has debtor(s) ever been within the 6 years prior to filing, either: Self-
employed or a sole proprietor; a partner, other than a limited partner, of a partnership; or an officer, director, managing
executive, or person in control of a corporation? :l YES l lNO
If yes, complete ALL questions in the Statement of Affairs.

6. [Unless EXACT question already answered on Petition] If debtor is CORPORATIGN, list name and address of chief
executive officer; if debtor is PARTNERSHIP, list names and addresses of general partners:

 

N/A
7. Total GROSS income of the individual debtor(s) for the last tax year: $ mw 42,870.00 (i.e. before any deductions).
8. Total amount of unsecured debt: $ MMQQ.
9. Total Noncontingent, Liquidated Farrning Operation Debt: $ MM()_.~t)”t)_.
10. Total GROSS income from farming operation for the individual debtor(s) for last tax year: $ 0.00.
1 1. The BANKRUPTCY DOCUMENT PREPARER DECLARATION below has been completed for any person who

helped, for compensation, prepare any of the bankruptcy papers if the debtor does not have an attorney.

l declare under penalty of perjury that the above information provided in this Exhibit “C” is true and correct

DATED; §'§/O“ fillean (:%,M\,;l §{;3 §<f"l <to?l

Debtor’ s di §natu.;/ , Phone # Joint Debtor’s Signature

BANKRUPTCY DOCUMENT PREPARER DECLARATION

I, the undersigned, declare under penalty of perjury that (l) neither I, nor anyone else listed herein, collected or received any
payment from or on behalf of the debtor for court fees' m connection with filing the petition; (2) I have received $

from or on behalfofthe debtor within the previous 12 month period; (3) SWW is the unpaid fee charged to the debtor;
and (4) the following is true and accurate about myself and any other assistants:

lndividual Name and Firm (Type or Print):
Address (Type or Print):
Social Security Number of all OTHER individuals Who prepared or assisted in the preparation of these bankruptcy documents:

 

 

 

Signature: Social Security #: Phone#:
[NOTE: Penalties up to $500 per item may be assessed for omission of any required information (11 USC § 110; 18 USC § 156)) and Fed.
Bankruptcy Rule 1006 prohibits any payment to any person for services until the court1 filing fees are paid in full. ]

EXHlBlT C (12/01/01)

 

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United States Bankruptcy Court
District of Oregon

IN RE: Case No.

Baird, Greqq Chapman Chapter 7

57`

 

Debtor(s)
DISCLOSURE OF COMPENSATION OF ATT()RNEY FOR DEBTOR

Pursuant to ll U.S.C. § 329(a) and Bankruptcy Rule 2016(b), l certify that l am the attorney for the above-named debtor(s) and that compensation paid to me within
one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
of or in connection with the bankruptcy case is as follows:

For legal services, l have agreed to accept ............................................................................ $ 950;9_@
Prior to the filing of this statement l have received ..................................................................... $ 950.00
Balance Due .................................................................................................. $ 0.00

The source of the compensation paid to me was: l:i Debtor MOther (specify): $334.00 paid by JOhn Balrd
The source of compensation to be paid to me is: i:l Debtor m Other (specify);
iii l have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm,

l:l I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
together with a list of the names of the people sharing in the compensation, is attached

In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

  

 

 

a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to tile a petition in bankruptcy;
b. ".;:::‘:': "; :‘ ;:;' ':"...:~'::-~: : : :‘:':.. :"" " " ""

c. ' ~ : - ~ v ; 4 .

d. Dp. tai-1 .. ft-h “‘~‘ 1...ld,.

e [Other provisions as needed]

Preparation and filing of the initial petition and schedules, excluding any amendments.

Representation of the debtor at the initial meeting of creditors, excluding any continued hearings and excluding any time
expended in responding or assisting the client to respond to written questions or questionnaires or document requests
from any trustee.

By agreement with the debtor(s), the above disclosed fee does not include the following services:
A|l extraordinary services as defined in fee agreement (see attached).

 

 

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
proceeding lax

C ERTIFICATION

 

fields §§

Date 7 f §ignature of Attomey

…

a\
Vanden Bos & Chapman L

 

Name of Law Firm

 

DlSCLOSURE OF COMPENSAT|ON OF ATTORNEY FOR DEBTOR

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ATTORNEY-CLIENT FEE AG REEMENT

CHAPTER 7

CL|ENT: Baird, Gregg C.
ATTORNEY: VANDEN BOS & CHAPMAN, Ll_P

 

FLAT

FEE: 1) $ 950.00 for basic services rendered through the date of the 341 (a)
hearing.
COSTS: $ 209.00 for court Filing Fee.
TOTAL: $ 1 159.00 (only if extraordinary services not needed)
THE QUOTED FLAT FEE APPLlES ONLY lF THE BANKRUPTCY
CASE lS FlLED WlTHlN 30 DAYS OF THE lNlTlAl_
CONSULTAT|ON. OTHERWlSE, HOURLY CHARGES Wl|_L BE
APPLICABLE.

or

HOURLY

FEE: 2) Hourly at the rate for the attorney and paralegal assigned to the case,

plus costs.
* Minimum fee of $ N/A
(Earned upon receipt)
ScoDe of Reoresentation. Client retains Attorney to perform the "Basic
Seil'vices" defined belovv, and if necessary, to perform "Extraordinary Services" defined
be ow.

”Basic Services” are services necessary to prepare and file client's petition
for relief under Chapter 7 of the Bankruptcy Code; legal advice respecting the bankruptcy
filing; preparation of client’s schedules; and appearance With client at 341 (a) hearing.

” Xtraordinagg Services" are all services if your cases is hourly or, if you are
on a flat fee basis, those services spent dealing with contested matters, amendments,
discharge of judgments, or adversary proceedings in the Bankruptcy Court, such as:

(a) Reaffirmation Agreements;

(b) Schedule amendments (if you are on flat fee basis, the fee for

amendments concerning less than five creditors is $65.00 inclusive
of court filing fee of $29.00, otherwise done hourly);

(c) Motions in state or bankruptcy court to avoid or discharge
judgments from the record; and

(d) E)<traordinary litigation (including conferences or negotiations With
litigants or their attorneys) in the Bankruptcy Court such as:

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(1) Motions for Relief from stay;

(2) Lawsuits (complaints) to challenge discharge or
dischargeability of specific debts;

(3) Motions or complaints to disallow claimed
exemptions.

Please note that you may not have the option to go without an attorney for
the extraordinary matters, even if you so desire, unless the Bankruptcy judge permits
resignation of the attorney. The Bankruptcy Court has ruled that unless it permits
resignation of the attorney, the attorney is required to continue representation and be
reasonably compensated for services rendered and costs incurred.

Fees for "Extraordina[y Services.” Client agrees to pay for "Extraordinary
Services" on an hourly basis as follows:

Robertj Vanden Bos (partner) $325.00/hr
Ann l<. Chapman (partner) $315.00/hr
Amanda K. Bailey $ZZ0.00/hr
Charles E. Harrell ` $220.00/hr
Lega| Assistants $160.00/hr

These hourly rates are subject to periodic adjustment to reflect economic
conditions and increased experience and expertise in this area of law and may increase
from time to time. The minimum charge for preparation of any document is 0.25 hours.

Reimbursement of Attornev‘s Costs. Client agrees to pay all of the
Attorney's costs incurred in representing the client related to extraordinary services.
Examples of such costs include filing fees, court reporter fees, long distance telephone,
photocopies (whether made in the attorney's office or an outside printing service),
facsimiles, etc.

Monthly statements You will be provided with:
_l(_ monthly statements

periodic statements as Attorney requests
the Court's approval of fees.

Client's Duty to Cooperate. Client agrees to cooperate with Attorney to
complete all forms requested by the Attorney and to provide the Attorney with all
information necessary to enable the Attorney to represent the Client's best interests. |f
client unreasonably declines to cooperate, or should knowingly provide the Attorney with
false or fraudulent information or testify untruthfully in any matter before the Court, the
client agrees that Attorney shall have the right to immediately resign.

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Breach of Agreement -- Attornev Fees for Prevailing Partv. |f permitted by
law, should either party find it necessary to take steps to enforce this Agreement, the costs
of doing so, including reasonable Attorney fees, before trial, at trial or on appeal, as
determined by the Court, will be borne by the losing party.

Representation Limited to Bankruptcy Court. Attorney does not agree to

represent client in any action except in the Bankruptcy Court, unless otherwise
acknowledged in writing signed by the Attorney.

THE ATTORNEY DOES NOT UNDERTAKE TO GlVE THE CL|ENT TAX
ADV|CE. CL|ENT AGREES TO CONSULT lTS OWN ACCOUNTANT OR COMPETENT
TAX COUNSEL, WlTH RESPECT TO ALL TAX lSSUES.

Dated: 5 ’ 3 y 03

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United States Bankruptcy Court

District of Oregon
IN RE: Case No.
Balrd, Gregg Chapman (NOTE: There may be no Case No. ifthis was filed

with the original papers, BUT you will receive full
information on this case within about 30 days!)
INDIVIDUAL DEBTOR'S* STATEMENT OF
Debto r(S) INTENT ABOUT THE DISPOSITION OF ESTATE
PROPERTY USED AS COLLATERAL TO SECURE
CONSUMER DEBTS; AND CREDIT()R REMEDY

*IMPORTANT NOTICES TO DEBTOR(S):

(l) SIGN AND FILE this form even if you show “NONE,” AND, if creditors are listed, have the service (e.g., mailing) certificate COMPLETED;
AND

(2) F ailure to perform the intentions stated below within 45 days of filing this document can result in prompt relief for the creditor from the Automatic
Stay protecting your property.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PRoPERrY To BF. RETAINED
<crrecr< ANY APPLicABLE srArEMENr)
PRoPERTY
CREDITOR PROPERTY WILL BE PRoPERTY is PvRv(i:§§le P§/(i)f:§§zy WILL 593
SURRENDERED cLAiMED As REDEEMED REAPFIRMED §§HHRAR“CAT'
isxr:ivu>r PER PF.R i 1 usc § CURRENT
ii usc § 722 524(¢)
Bank Of America 2000 Mercedes Benz C28_O \/
I, THE UNDERSIGNED DEBTOR, CERTIFY THATTHE ABOVE IS MY I, THE UNDERSIGNED, CERTIFY THAT CUPIES 0F BOTH THIS
INTENTION AS TO PROPERTY SECURING CONSUMER DEBTS. DOCUMENTAND LUCAL FURM #715 WERE SER VED ON BOTH.' (2) ANY

CREDITOR NAMED ABOVE, AND (b) THE TRUSTEE IF THIS
STATEMEN'I` WAS NOT FILED WITH THE PETIT!ON.

      
 

 

 

 

DATE: 5 3 "’" §§ § aj §
C ” DAT/?
" 7 7857 t §/i”? § ,e s life § ~\
DEBroR's sIGNATU‘kE" :/' LAsT 4 Diorrs or soc. sEc. # ` j 15 §§ jul §/:§Zt,f 00315
f DEBroR on ATToRNEY's striqu osB# rif anomey)
607 NE Fremont St
DEBToR's MAILING ADDREss Amanda Bailey (503) 241-4869

 

PRINT OR TYPE SIGNER'S NAME & PHONE NO.

319 SW Washington St Ste 520
SIGNER'S ADDRESS (if attorney)

Porfland, OR 97204~2620

Porfland, OR 97212-2154

 

 

NON-JUDICIAL REMEDY WHEN CONSUMER DEBTOR FAILS TO TIMELY PERFORM STATED INTENTIONS

Creditors, see Local Form #7 l 5 [which is either on the back of, or attached to, this document] if you wish information on how to obtain NON-JUDICIAL
relief from the automatic stay of ll U.S,C. § 362(a) as to your collateral.

COURT ()RDERED CREDITOR'S REMEDY WHEN CONSUMER DEBTOR FAILS TO TIMELY PERFORM STATED INTENTI()NS

A creditor may receive relief from the Automatic Stay, using instructions and forms provided by the Clerk‘s office (PORTLAND (503) 326-2231, or
EUGENE (541) 465~6448), if a debtor fails to perform the intentions stated above within 45 days of this form’s mailing date. The creditor shall conform
to all procedures Set forth in the current version of Local Forms#720.50, 72(), and 721; EXCEPT THE FOLLOWING SPECIFIC MODIFICATIONS
MAY BE MADE TO FORM #720.50:

l. The Notice of Motion shall be placed on Local Form #720; §§Q

2. The Motion need only:(a) attach atrue copy of the Debtor's Statement of Intention received by the creditor; (l)) state the debtor failed to perform such

intention within 45 days of the mailing date; and (c) request relief from the Autornatic Stay.

QUESTIONS ? ? ?

Call an attorney with questions about these procedures or the law. However, only call the debtor's attorney if you have questions about the
debtor's intent as to your collateral.

 

 

521 (11/10/03)

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PROCEDURES CREATED BY THE BANKRUPTCY COURT CONCERNING REOUES'I`S FOR NON-JUDICIAL
RELIEF FROM THE AUTOMATIC STAY AS TO SECURED COLLATERAL IN CHAPTER 7 CASES

 

lf you are interested in expediting relief from the automatic stay of l l U.S.C. §362(a) as to property in which you hold a security interest,
YOU MUST FURNISH the trustee a statement of the balance due and estimated property value. ALSO ATTACH a copy of your
security agreement and other documents required for perfection (e.g., if the security is an automobile, a copy of the certificate of title
showing your security interest). YOU MUST ALSO ATTACH a completely filled out (except for signatures) copy of LBF #750.

DO NOT FILE THE REQUEST NOR ANY COPIES THEREOF WITH THE COURT! ALS(), YOU ARE NOT REQUIRED
TO FILE THE COMPLETED LBF #750 WITH THE COURT TO MAKE THIS RELIEF EFFECTIVE!

Under §522(f) of the Bankruptcy Code the debtor may request a judicial lien or a non-possessory, non purchase-money security interest
on certain exempt property be voided to the extent the exemption is impaired by the lien or security interest Under §722 the debtor may
request the court determine the value of certain personal property and permit the debtor to redeem the property from any lien against it
by paying that value to the lien holder. Because of these two sections, the consent of both the trustee and debtor is required to permit a
repossession or foreclosure without court order.

lF YOUR REQUEST TO RECEIVE NON-JUDICIAL RELIEF FROM STAY WILL BE MADE A:i: THE MEETING OF CREDITORS
and contain all the information required in pafagraph one. Copies of all documents must be submitted to the debtor and any debtor's
attorney prior to that meeting

IF YOU WISH TO RECEIVE NON-JUDICIAL RELIEF FROM STAY PRIGR T__Q THE MEETING OF CREDITORS, OR IF YOUR
REQUEST IS MADE AFTER THE MEETING OF CREDITORS, IT MUST BE IN WRITING and contain all the information required
in paragraph one. lf the request includes a signed debtor stipulation, nothing further is required and the trustee may immediately process
the request. However if the request does not include a signed debtor stipulation, then it MUST BOTH: (l) certify copies of all documents
were simultaneously served on (e.g., mailed to) the debtor and any debtor's attorney, AN_Q (2) clearly set out the following notice:

- Forms Software Only

"By way of this letter the debtor is informed that the trustee may grant non-judicial relief from the automatic stay as to the
property UNLESS THE TRUSTEE IS NOTIFIED IN WRITING WITHIN 15 DAYS AFTER THE`SERVICE OF THIS
REQUEST THAT THE DEBTOR OBJECTS TO SUCH RELIEF. Such relief shall constitute a termination of the stay
provided by ll U.S.C. §362(3) and will permit this creditor to foreclose his lien or security interest by repossession or as
otherwise provided by law."

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§ Objections to non-judicial relief from the automatic stay, unless made at the meeting of creditors, must be in writing, with a copy
§simultaneously served on the debtor, requesting creditor, trustee, and their respective attorneys ofrecord. The objection must be post-marked
by the 15th day after the request was served, and received by the trustee within 20 days, or the trustee may grant the request

lf the trustee receives a timely objection from the debtor, the trustee shall not grant non-judicial relief or consider repetitive requests by the
same creditor unless the debtor withdraws such objection in writing

The trustee will grant non-judicial relief from the automatic stay if the above requirements are met, the debtor either does not timely object
or stipulates in writing to such relief, and there appears to be no equity in the property for the benefit of creditors

Signing of LBF #7 50 by the trustee, granting non-judicial relief, shall constitute a termination of the stay of an act against such property under
11 U.S.C. §362(a). The trustee, however, shall not be deemed to have abandoned his/her interest in the property, nor have waived any other

rights as to the propertyn Any non-exempt equity in the property remaining after disposition shall be immediately returned to the trustee

If either the trustee or debtor(s) will not agree to such relief for any reason, you must file a motion for relief from stay under §362(d).
Instructions and forms may be obtained from the Clerk's oche.

IMPORTANT. All requests to the trustee MUST be accompanied by a self-addressed and stamped envelope, or the trustee need not respond.

* * *SEE REVERSE/ATTACHED * * *

715 (11/10/03)

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United States Bankruptcy Court
District of Oregon

IN RE:

Baird, Greqq Chapman
Debtor(s)

Case No.
Chapter 7

 

SUMMARY ()F SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each, Report the totals from Schedules A, B, D, E, F, l, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets Add the amounts from Schedules D, E, and F to determine the total

amount of the debtor's liabilities

AMGUNTS SCHEDULED

 

    
       

LlABILITIES

 

 

    

 

 

 

    

19,185.00

 

 

   

103,035.00

 

 

 

 

 

 

ATTACHED NUMBER oF
NAME op SCHEDULE (YEs/No) er~;Ers Assets
A - Real Property Yes 1 0.00
B - Personal Property Yes 2 28,898.00
C - Property Claimed as Exempt Yes 1
D ~ Creditors Holding Secured Claims Yes 1
E - Creditors Holding Unsecured Priority
. Yes 2
Claims
F - Creditors Holding Unsecured Yes
Nonpriority Claims
G - Executory Contracts and Unexpired
Yes
Leases
H - Codebtors Yes
I - Current Income of Individual Yes
Debtor(s)
J - Current Expenditures of Individual Yes
Debtor(s)

 

Total Number of Sheets in Schedules

SUMMARY OF SCHEDULES

 

Total Assets

        
 
 
   

28,898.00 _

Total Liabilities

Case 05-36984-tmb7 Doc 2 Filed 06/14/05

 

 

 

 

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IN RE Baird, Gregg Chapman Case No.
Debtor(s)

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future intercst, including all property owned as a co-tenant, community
property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's ovm benefit If the debtor is
married, state whether husband, wife, or both own the property by placing an "H" for Husband, "W" for Wife, "J" for Joint, or "C" for Comrnunity in the column labeled
"HWJC." If the debtor holds no interest in real property, write "None" under "Description and Location of Property".

Do not include interests in executory contracts and unexpired leases on the schedule List them in Schedule G - Executory Contracts and Unexpired Leases.

lf an entity claims to have a lien or hold a security interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
interest in the property, write "None" in the column labeled “Amount of Secured Claim".

lf the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C ~ Property Claimed as Exempt.

 

 

 

 

 

 

 

 

consent MARi<i-;T
ii vALus or DEBroR's
NATURE or DEBToR's w iNri=.Rr.sr IN PRoPerY AMouNr or sscuRaD
DESCRIPTI°N AND LOCATION OF PROPERTY iNrEREsT iN PRoPF.RTY J wiriiour Di~;i)UcrtNG cLAiM
c ANY sEcuRED cLAiM on
ExEMPrioN
None
TOTAL 030

 

 

 

(Report also on Summary of Schedules)

SCHEDULE A ~ REAL FROPERTY

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IN RE Baird, Gregg Chapman Case No.
Debtor(s)

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. lf the debtor has no property in one or more of the categories place an "X" in the
appropriate position in the column labeled "None". If additional space is needed in any categoiy, attached a separate sheet properly identified with the case name, case nuinber,
and the number of the category If the debtor is married, state whether husband, wife, or both own the property by placing an "H" for Husband, "W" for Wife, "J" for Joint,
or "C" for Community in the column labeled "HWJC." If the debtor is an individual or a joint petition is filed, state the amount of any exemptions only in Schedule C -
Property Claimed as Exempt.

Do not include interests in executory contracts and unexpired leases on the schedule List them in Schedule G - Executory Contracts and Unexpired leased

lf` the property is being held for the debtor by someone else, state that person‘s name and address under "Description and Location of Propeny".

 

 

CURRENT MARKET
VALUE OF DEBTOR'S '
INTEREST IN PROPERTY
WITHOUT DEDUCTING
ANY SECURED CLA]M OR
EXEMPTION

l. Cash on hand. CaSl‘\ 3.00

Z. Checking, savings or other financial US Bank " Checking 53'00
accounts, certificates of deposit, or
shares in banks, savings and loan,
thrift, building and loan, and
homestead associations or credit
unions, brokerage houses, or
cooperatives

TYPE OF PROPERTY DESCRIPTION AND LOCATION OF PROPER'I`Y

mzoz
O~€m

 

3. Security deposits with public utilities X
telephone companies, landlords7 and
others

4. Household goods and furnishings, Hou$ehold goods 3,000-00
include audio, video, and computer
equipment

5. Books, pictures and other art objects, Gultart books 600-00
antiques, stamp, coin, record, tape,
compact disc, and other collections or
collectibles.

6. Wearing appareit Wearing apparel 1,000.00

7 . Furs and jewelry X
Fi[earms and §p()rf§, photographic, Ski$, Snowboard, tennis racquet 100.00
and other hobby equipment

9. Imerest in insurance policies Name Term life insurance - no cash value 0.00
insurance company of each policy and Beneflclary - parents and SlSte|'
itemize surrender or refund value of
each.

10. Annuities. Itemize and name each X
issue.

ll. Interests in IRA, ERISA, Keogh, or PERS 7,807.00
other pension or profit sharing plans
Itemize,

12. Stock and interests in incorporated X
and unincorporated businesses
Itemize.

13. Interests in partnerships or joint X
ventures Itemize.

14. Government and corporate bonds and X
other negotiable and non-negotiable
instruments

15. Accounts receivables X

16. Alimony, maintenance, support, and X
property settlements in which the
debtor is or may be entitled. Give
particulars

17. Other liquidated debts owing debtor X
including tax refunds Give
particulars

 

 

 

 

 

 

 

SCHEDULE B - PERSONAL PROPERTY

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IN RE Baird, Gregg Chapman

Case No.
Debtor(s)

SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)

 

 

 

 

 

 

 

 

0 continuation sheets attached

SCHEDULE B - PERSONAL FROPERTY

CURRENT MAiu<Er
N H VALUE oF DEBToR's
o w INTEREST IN PRoPERrY
TYPE or PRoPERTY N DESCRIPTION AND LocATIoN oF PROPERTY 1 WITHOUT DEDUCHNG
E C ANY sECURED CLAIM oR
EXEMPTION
l8. Equitable or future interest, life X
estates and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule of Real Property.
19. Contingent and noncontingent X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust
20. Other contingent and unliquidated X
claims of every nature, including tax
refunds counterclaims of the debtor,
and rights to setoff claims Give
estimated value of each.
21. Patents, copyrights and other X
intellectual property. Give particulars
22. Licenses, franchises and other X
general intangibles Give particulars
23. Automobiles trucks trailers and 2000 Mercede$ Benz C280 15»000-00
other vehicles and accessories
24. Boats, motors and accessories X
25. Aircrait and accessories X
26. fo,ce equipment furnishings, and HP Computer (3 1l2 yrs), NEC Monitor (3 112 yrs) 50.00
supplies
27. Machinery, fixtures equipment, and X
supplies used in business
28. Inventory. X
29. Animals. X
30. Crops - growing or harvested Give X
particulars
31, Farming equipment and implements X
32. Farm supplies chemicals and feed. X
33. Other personal property of any kind Net Wage$ " one pay period 1»285'00
not already listed. Itemize,
TOTAL 28,898.00

 

 

 

(lnclude amounts from any continuation sheets attached
Report total also on Summary of Schedules.)

Case 05-36984-tmb7 Doc 2 Filed 06/14/05

 

 

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IN RE Baird, Gregg Chapman

 

(Check one box)

|:| ii U.s.o. § 522(b)(1):

Mll U.S.C. § 522(b)(2):

Debtor(s)

Case No.

 

SCHEDULE C ~ PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemptions to which debtor is entitled under:

Exemptions provided in ll U.S.C. § 522(d). NOTE: These exemptions are available only in certain states

Exemptions available under applicable nonbankruptcy federal laws state or local law where the debtor's domicile has been located for 180

days immediately preceding the filing of the petition, or for a longer portion of the lSO~day period than in any other piace, and the debtor's
interest as a tenant by the entirety or joint tenant to the extent the interest is exempt from process under applicable nonbankruptcy law.

 

 

 

 

 

cuRRENrMARKEr
DEsCRlPTIoN or PRoPERTY sPr~;CIFY LAW PRovlorNG EACH E)o;MPTIoN VM§§EOA/!;P;§£MED &%%EU?FDI;§§§§§;
EXF.MPrioNs

SCHEDULE B - PERSCNAL PROPERTY

cash ons 18.345(1)(0) 3.00 3.00
us Bank - checking oRs 18.345(1)(0) 53.00 53.00
Household goods oRs 18.345(1)(f) 3,000.00 3,000.00
Guifal', bCOkS CRS 18.345(1)(€\) 600.00 600.00
wearing apparel oRs 18.345(1)(b) 1,000.00 1,000.00
PERS ORS 18.358 100% 7,807.00
2000 M€l‘Ced€S BenZ C280 ORS 18.345 (1)(€1) 1,700.00 15,000.00
Net wages - one pay period ORS 18.385 75% 1,285.00

 

 

 

 

SCHEDULE C - FROPERTY CLA|MED AS EXEMFT

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IN RE Baird, Gregg Chapman

Case No.

 

Schedules.

Debtor(s)

 

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address including zip code and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
date of filing of the petition The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens garnishments statutory liens mortgages deeds oftrust, and other
security interests List creditors in alphabetical order to the extent practicable If all secured creditors will not tit on this page, use the continuation sheet provided

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors and complete Schedule H - Codebtors, If a joint petition is tiled, state whether husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”

If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.’° (You may need to place an “X” in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of

[:j Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

U
C N AMoUNr or cLArM
C 0 L D erHoUr DEDUCTING
0 N l I vALUE or coLLArERAL
cREDiroR's NAME, MAiLING ADDREss § § DArE cLArM wAs incuRRED, § 3 §
1NCLUD1NG ziP cooi=., AND AccoUNT NUMBER, B J NATURE or LrEN, Ar\n) mascrui>rion AND MARKET vALUE or N l U --------------------------------
(See instructions ahove,) T C PROPERTY SUBJECT 'l'O LIEN G D T
0 E A E UNsECURr~;D PoRrroN, ir
R N 'I` D ANy
r E
o
AccoumNo. 9279 Hoids title to 2000 Mercedes
Bank Of America
Po Box 45224 ................ l ?:..1.?§:.9.9
Jacksonvi|le, FL 32232-5224
Valuc$ 15,000.00 4,185.00
Account No.
Value 3
Account No.
Value $
Account No.
Value $
Account No.
Value $
Subtotal
wQ Continuation Sheets attached (Total of this page) 19,185.00
(Complete only on last sheet of Schedule D) TOTAL 19,185.00

SCHEDULE D ~ CRED|TORS HOLD|NG SECURED CLA|MS

 

 

 

 

(Report total also on Summary of Schedules)

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IN RE Baird, Gregg Chapman Case No.
Debtor(s)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided Only holders of unsecured claims entitled to
priority should be listed in this schedule In the boxes provided on the attached sheets state the name, mailing address including zip code, and last four digits of the account
number, ifany, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition The complete account number
of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.

lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” iri the column labeled “Codcbtor,” include the entiry on the appropriate
schedule of creditors and complete Schedule H - Codebtors. lf a joint petition is filed, state whether husband, wife, both of them or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”

If the claim is contingenta place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” lf the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled “Subtotal” on each sheet Report the total of all claims listed on this Schedule E in the box labeled “Total”
on the last sheet of the completed schedule Repeat this total also on the Summary of Schedules.

 

lmf Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAIMS

(Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

" l

l
, .

Extensions of credit in an involuntary case
Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the

earlier of the appointment of a trustee or the order for relief l l U.S.C. § 507(a)(2)

l : Wages, salaries and commissions
Wages, salaries and commissions including vacation, severance, and sick leave pay owing to employees and commissions owing to
qualifying independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the
original petition, or the cessation of business whichever occurred first, to the extent provided in ll U.S.C. § 507(a)(3).

§ Contributions to employee benefit plans
Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition,
or the cessation of business whichever occurred first, to the extent provided in ll U.S.C. § 507(a)(4).

j Certain farmers and fishermen
Claims of certain farmers and fishermen, up to a maximum of $4,925* per farmer or fisherman, against the debtor, as provided in l l

U.s.c. § 507(3)(5).

j Deposits by individuals
Claims of individuals up to a maximum of $2,225* for deposits for the purchase, lease, or rental of property or services for personal,
family, or household use, that were not delivered or provided ll U.S.C. § 507(a)(6)

§

Alimony, Maintenance, or Support
Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in ll U.S.C.

§ 507(3)(7).

Taxes customs duties and penalties owing to federal7 state, and local governmental units as set forth in ll U,S.C. § 507(a)(8).

Commitments to Maintain the Capital of an Insured Depository Institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervisiori, Comptroller of the Currency, or Board
of Goverriors of the Federal Reserve System, or their predecessors or successors to maintain the capital of an insured depository
institution ll U.S.C. § 507(a)(9).

* Amounts are subject to adjustment on April l, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment

1 Continuation Sheets attached

SCHEDULE E - CREDlTORS HOLD|NG UNSECURED PR|ORITY CLA|MS

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IN RE Baird, Gregg Chapman

 

Debtor(s)
SCHEDULE E - CREDIT()RS HOLDING UNSECURED PRIORITY CLAIMS

(Continuation Sheet)

Case No.

 

Taxes and Other Certain Debts 0Wed to Goveriimental Units

 

(Type oi`Priority)

 

(See instructions.)

CREDITOR`S NAME, MAlLlNG ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUMBER

WO»~!UJ¥T!UOO

O~€m

DATE CLAIM WAS INCURRED
AND CONSIDERATION FOR CLAIM

TOTAL AMOUNT
OF CLAIM

Urri-€C'cu)»-U

AMOUNT ENTITLED
TO PRIORITY

HZU'¢C}Z'-'»-JZOO
Um*'i>U*‘CI/C)*~F‘ZCZ

 

Account No.

 

internal Revenue Service
By Karin |mmergut, US Atty
1000 SW Third, Ste 600
Portland, OR 97201

Notice only

 

Account No.

 

|RS

By Attorney General

10th Constitution NW #4400
Washington, DC 20530

Notice only

 

Account No.

 

|RS insolvency Unit #3
1220 SW Third Ave, MS 0240
Portland, OR 97204

Precautionary

 

Account No.

 

Oregon Department Of Revenue
Attn: Bankruptcy Unit

955 Center St NE

Salem, OR 97301-2555

Precautionary

 

Account No.

 

 

Account No.

 

 

 

 

 

 

 

 

 

Sheet ‘l of

SCHEDULE E - CRED|TORS HOLDING UNSECURED FR|OR|TY CLA|MS

1 Continuation Sheets attached to Schedule E

(Complete only on last sheet of Schedule E) TOTAL

(Total of this page)

Subtotal

 

 

 

 

(Report total also on Summary of Schedules)

Case 05-36984-tmb7 DOC 2 Filed 06/14/05

 

 

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IN RE Baird, Gregg Chapman Case No,
Debtor(s)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRI()RITY CLAIMS

State the name, mailing address, including zip code and last four digits of any account number of all entities holding unsecured claims without priority against the debtor
or the property of the debtor as of the date of filing of the petition The complete account number of any account the debtor has with the creditor is useful to the trustee and
the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in Schedules D and E. lf all creditors will not fit on this page, use the continuation
sheet provided

lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H » Codebtors, If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
On each claim by placing an ‘°H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.’7

lf the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule Repoit this total also on the Summary of
Schedules.

 

§ Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

 

CREDITOR‘S NAME, MAILING ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUMBER
(See instructions above.)

DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.

Ir cLAiM is sumner ro sEroFF, so srArn. AMOUNT OF CLA‘M

xoammmon
0~2$
cmacem~o

HZ¥T!C.')Z-‘HZOO
Um»l>U‘-*CO~!“ZC}

 

Account No. 0636 Credif Card

AT And T Universa| Card
PO Box 8029
South Hackensack, NJ 07606-8029

 

3,209.00

 

Account No. 0636 Alternate address

AT And T Universal Card
PO Box 6500
Sioux Falls, SD 57117-6500

 

0.00

 

AccountNo. Alternate address

AT And T Universal Card
clo NFS, lnc.

PO Box 9041

Hicksvi|le, NY 11802-9041

 

0.00

 

AccouniNo. Persona| loan

 

Brent Frederick
1835 NE 53rd Ave
Portland, OR 97213-2741

650.00

 

AccountNo. 6381 Wire|ess service

 

Cingu|ar Wireless
PO Box 8229
Aurora, lL 60572-8229

 

 

 

 

 

 

710.00

 

 

Subtotal
2 Continuation Sheets attached (Total of this page) 4,569.00

 

 

 

(Complete only on last sheet of Schedule F) TOTAL
(Report total also on Summary of Scliedules)

 

SCHEDULE F - CRED|TORS HOLD|NG UNSECURED NONPR|OR|TY CLA|MS

Case 05-36984-tmb7 DOC 2 Filed 06/14/05

 

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IN RE Baird, Gregg Chapman

SCHEDULE F - CREDIT()RS HOLDING UNSECURED NONPRIORITY CLAIMS

Case No.

 

Debtor(s)

(Continuation Sheet)

 

(See instructions.)

CREDITOR'S NAME, MAILING ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUM'BER

DA'I`E CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM,
IF CLAIM IS SUBJECT TU SETOFF, SO STATE.

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O~<€E
b42¥1'!£1`)2§'-‘»~-IZO<`>
Um\-!>U~CO'-‘K*ZC
Um»~ic‘.*em~©

AMOUNT OF CLAIM

 

Account No, 1680

A|ternate address

 

Citibank
PO Box 6500
Sioux Fa|ls, SD 57117-6500

0.00

 

Account No.

A|ternate address

 

Citibank

c/o NFS, lnc.

PO Box 9041

Hicksvil|e, NY 11802-9041

0.00

 

Account No.

Alternate address

 

Citibank

c/o Co|lectcorp

455 N 3rd St Ste 260
Phoenix, AZ 85004-3924

0.00

 

Account No, 1680

Credit card

 

Citibank Choice
PO BOX 6000
The Lakes, NV 89163-0001

17,958.00

 

Account No. 7412

Credit card

 

Citibank Choice
PO BOX 6000
The Lakes, NV 89163-0001

8,954.00

 

Account No.

Personal loan

 

John And Kay Baird
3880 Garden Val|ey Rd
Roseburg, OR 97470-9221

48,270.00

 

Account No. 7144

Credit card

 

NlBNA
PO Box 15137
Wi|mington, DE 19850-5137

 

 

 

 

 

 

 

4,380.00

 

Subtotal

Sheet 1 of 2 Continuation Sheets attached to Schedule F (Total of this page)

(Complete only on last sheet of Schedule F) TOTAL

79,562.00

 

 

 

 

(Report total also on Summary of Schedules)

SCHEDULE F - CRED|TORS HOLDlNG UNSECURED NONPR|OR|TY CLA|MS

 

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IN RE Baird, Gregg Chapman

Debtor(s)

Case No.

 

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

(See instructions.)

CREDITOR'S NAME, MAILING ADDRESS
lNCLUDING ZIP CODE, AND ACCOUNT NUMBER

woammeon
0-€$

DATE CLAIM WAS INCURR_ED AND CONSIDER_A'I`ION FOR CLAlM.
IF CLAIM IS SUBJECT TO SE'I`C)FFx SO STATE.

AMOUNT OF CLAIM

Um*-l>CJ~CfO‘-‘FZC
Um'-lC’Um>'<U

>-iZ!TlOZ»-‘>-JZOO

 

Account No. 9980

Credit card

 

MBNA
PO BOX 15102
Wilmington, DE 19886-5102

12,244.00

 

Account No.

Alternate address

 

MBNA

c/o True Logic Mi|e Rock
PO Box 4387

Englewood, CG 80155-4387

0.00

 

Account No. 2129

Line of credit

 

Unitus Community Credit Union
2121 SW 4th Ave
Portland, 0R 97201-4904

5,495.00

 

Account No. 8586

Overdraft fees

 

Wells Fargo Bank
PO Box 6995
Portland, OR 97228~6995

1,165.00

 

Account No. 8586

Alternate address

 

We||s Fargo Bank

c/o Attention, LLC

PO Box 2508

Sherman, TX 75091-2508

0.00

 

Account No.

 

 

Account No.

 

 

 

 

 

 

 

 

 

Sheet 2 of

2 Continuation Sheets attached to Schedule F

(Complete only on last sheet of Schedule F) TOTAL

SCHEDULE F ~ CRED|TCRS HOLDlNG UNSECURED NONPRlOR|TY CLA|MS

(Total of this page) 18,904.00

Subtotal

 

 

 

1 03,035.00
(Report total also on Summary of Schedules)

 

Case 05-36984-tmb7 DOC 2 Filed 06/14/05

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IN RE Baird, Gregg Chapman

Case No.

 

 

Debtor(s)

SCHEDULE G - EXECUT()RY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal propeity. Include any timeshare interests

State nature of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease.

Provide the names and complete addresses of all other parties to each lease or contract described

NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate schedule of creditors

MCheck this box if debtor has no executory contracts or unexpired leases.

 

NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
OF OTHER PARTIES TO LEASE OR CONTRACT

DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
STATE WHETHER LEASE lS FOR NONRESIDENTIAL REAL FROPER'I`Y,
STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT,

 

 

 

 

SCHEDULE G ~ EXECUTORY CONTRACTS AND UNEXPlRED LEASES

Case 05-36984-tmb7 DOC 2 Filed 06/14/05

 

 

 

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IN RE Baird, Gregg Chapman Case No.
Debtor(s)

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the schedules of
creditors. Include all guarantors and co-signers, ln community property states, a married debtor not filing a joint case should report the name and address of the nondebtor
spouse on this schedule Include all names used by the nondebtor spouse during the six years immediately preceding the commencement of this case

 

MCheck this box if debtor has no codebtors.

 

NAME AND ADDRESS OF CODEBTOR NAME AND ADDR.ESS OF CREDITOR

 

 

 

 

 

SCHEDULE H - CODEBTCRS

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IN RE Baird, Gregg Chapman Case No.
Debtor(s)

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed

 

 

 

 

 

 

 

 

 

Debtor'S Mariial Status DEPENDENTS OF DEBTOR AND SPOUSE
Single RELArioNsHIP AGE
EMPLOYMENT: DEBTOR SPOUSE
Occupaiion Environmental Health Specialist
Narne ofEmployer ClaCkamaS COUnty
How long employed 4 YI'S 4 MOS
Address of Employer 2051 Kaen Rd., Ste 470
Oregon City, OR 97045

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Income: (Estimate of average monthly income) DEBTOR SPOUSE
Current Monthly gross wages, salary, and commissions (pro rata if not paid monthly) $ 3,688.00 $
Estimated monthly overtime 3 $
SUBTOTAL $ 3,688.00 $
LESS PAYROLL DEDUCTIONS
a. Payroll taxes and Social Security $ 1,112.00 $
b. lnsurance $ $
c. Union dues $ 6.00 $
d. Other (specify) $ $
$ $
SUBTOTAL ()F PAYROLL DEDUCTIONS $ 1,118.00 $
TOTAL NET MONTHLY TAKE H()ME PAY $ 2,570.00 $
Regular income from operation of business or profession or farm (attach detailed statement) $ $
Income from real property $ $
Interest and dividends $ 3
Alimony, maintenance or support payments payable to the debtor for the debtor’s use
or that of dependents listed above $ $
Social Security or other government assistance
(Specify) $ $
$ $
Pension or retirement income $ $
Other monthly income
(Specify) $ $
$ $
$ $
TOTAL MONTHLY INCOME $ 2,570.00 $
TOTAL COMBINED MONTHLY INCOME S 2 570.00 (Report also on Summary of Schedules)

 

Describe any increase or decrease of more than l()% in any of the above categories anticipated to occur within the year following die filing of this document
Debtor currently working part-time through Ju|y making approx. $2,459.00 gross per month.

SCHEDULE l » CURRENT |NCOME OF lND|VlDUAL DEBTOR(S)

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IN RE Baird, Gregg Chapman Case No.

Debtor(s)

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

 

Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi~weekly, quarterly, semi-armually,

or annually to show monthly rate.

l:l Check this box if a joint petition is filed and debtor’s spouse maintains a separate household Complete a separate schedule of

expenditures labeled “Spouse.”

Rent or home mortgage payment (include lot rented for mobile home)
Are real estate taxes included? Yes No g
ls property insurance included? Yes No g

$ 1,100.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Utilities: Electricity and heating fuel $ 111.00
Water and sewer $ _MZ_§.OO
Telephone S 70.00
Other Cable $ 88.00

$
$

Home maintenance (repairs and upkeep) $

Food $ 425.00

Clothing $ 100.00

Laundry and dry cleaning $ W 25.00

Medical and dental expenses $ 135.00

Transportation (not including car payments) $ 185.00

Recreation, clubs and entertainment, newspapers, magazines, etc. $ 100.00

Charitable contributions $

lnsurance (not deducted from Wages or included in home mortgage payments)

Homeowner’s or renter’s $ 16.00
Life $
Health $ m
Auto S … 78.00
Other S
$
$
Taxes (not deducted from wages or included in horne mortgage payments)
(Specify) $
$
$

lnstallment payments (in chapter 12 and 13 cases, do not list payments to be included in the plan)

Auto $ 389.00
Other $
$

Alimony, maintenance, and support paid to others $

Payments for support of additional dependents not living at your horne $

Regular expenses from operation of business, profession, or farm (attach detailed statement) $

Other Cigarettes $ 150.00
Postage $ 7.00
HaircutslPersonal Grooming $ 35.00
Gifts $ 50.00
Household Supp|ies $ 50.00

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules) $ 3,139.00

(FOR CHAPTER 12 AND 13 DEBTORS ONLY)

Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some

other regular interval.

Total projected monthly income

Total projected monthly expenses
Excess income (A minus B)

Total amount to be paid into plan each

POP=’P>

&6%69966

 

(interval)

SCHEDULE J - CURRENT EXPEND|TURES OF |ND|VlDUAL DEBTOR(S)

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IN RE Baird, Greg,g Chapman Case No.
Debtor(s)

DECLARATI()N CONCERNING DEBTOR'S SCHEDULES

 

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

l declare under penalty of perjury that l have read the foregoing summary and schedules, consisting of 15 sheets, and that

(Total shown on summary page plus l)

they are true and correct to the best of my knowledge, information, and belief.

M£"“e.>/
c/

Date; 52 § “'G:S, Signature: '
Gregg C. Baird G

Debtor

Date: Signature:

 

(Joint Debtor, ifany)

[lf joint case, both spouses must sign.]

 

CERTlFICATION AND SlGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See ll U.S.C. § llO)

l certify that l am a bankruptcy petition preparer as defined in ll U.S.C. § llO, that l prepared this document for compensation, and that
l have provided the debtor with a copy of this document

 

 

Prinred or Typed Name of Bankruptcy Petition Preparer Social Security No.
(Required by ll U.S.C. § llO(c).)

 

 

Address

Narnes and Social Security numbers of all other individuals who prepared or assisted in preparing this document

lf more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each
person.

 

 

Signature ot" Bankruptcy Petition Preparer Date

A bankruptcy petition preparer ’s failure to comply with the provision oftille 1 1 and the F ederal Rules ofBankruptcy Procedures may result
infznes or imprisonment or both. 11 U.S.C. § I IO; 18 U.S.C. § 156.

 

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

l, the (the president or other officer or an authorized agent of the corporation or a
member or an authorized agent of the partnership) of the
(corporation or partnership) named as debtor in this case, declare under penalty of perjury that l have read the foregoing summary and
schedules, consisting of sheets, and that they are true and correct to the best of my knowledge, information, and belief.

(Total shown on summary page plus l)

 

Date: Signature:

 

 

(Print or type name of individual signing on behalf of debtor)

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.

DECLARATION CONCERN|NG DEBTOR'S SCHEDULES

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United States Bankruptcy Court
District of Gregon

IN RE: Case No.

 

Baird, Gregg Chapman Chapter 7
Debtor(s)

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
is combined lf the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
personal affairs

Questions 1-18 are to be completed by all debtors Debtors that are or have been in business, as defined below, also must complete Questions 19-25.
If the answer to an applicable question is “None,” mark the box labeled “None.” lf additional space is needed for the answer to any question, use
and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question

DEFINIT[ONS

“ln business.” A debtor is “in business” for the purpose of this form if the debtor is a corporation or partnership An individual debtor is “in business”
for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the following:
an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
partner, of a partnership; a sole proprietor or self-employed

“Insz'der.” The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor, 1 1 U.S.C. § 101.

 

1. Income from employment or operation of business

N°“e State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business from

l:l the beginning of this calendar year to the date this case was commenced State also the gross amounts received during the two years immediately
preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
report fiscal year income ldentify the beginning and ending dates of the debtor's fiscal year.) lf a joint petition is filed, state income for each spouse
separately (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE (if more than one)
40,216.00 2003 Gross wages

42,870.00 2004 Gross wages
2,407.00 2005 Gross wages (through 5/05)

 

2. Income other than from employment or operation of business

N°“"' State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor’s business during
the two years immediately preceding the commencement of this case, Give particulars lf ajoint petition is filed, state income for each spouse
separately (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE
23.00 2003 lnterest

3,900.00 2005 Disabi|ity

 

3. Payments to creditors

N°“€ a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor, made within
90 days immediately preceding the commencement of this case, (Married debtors filing under chapter 12 or chapter 13 must include payments
by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT AMOUNT
NAME AND ADDRESS OF CREDITOR DATES OF PAYMENTS PAID STILL OWING
Landlord Last 90 days monthly payments of 3,300.00 0.00

$1,100

STATEMENT GF FlNANC|AL AFFA|RS

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N°“e b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed.)

 

4. Suits and administrative proceedings, executions, garnishments and attachments

N°“e a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF PROCEEDING AND LOCATION DISPOSITION
Unitus Community Credit Union Sma|l Claim Multnomah County Pending
058007176

 

N°“e b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
the commencement of this case, (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

5. Repossessions, foreclosures and returns

N°“e List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

 

6. Assignments and receiverships

N°“e a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and joint petition is not filed.)

 

N°“e b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
commencement of this case, (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

7. Gifts

N°“e List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
gifts to family members aggregating less than SZOO in value per individual family member and charitable contributions aggregating less than $ 100
per recipient (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

8. Losses

N°“° List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

9. Payments related to debt counseling or bankruptcy

N°“e List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
of this case,

DATE OF PAYMENT, NAME OF AMOUNT OF MONEY OR DESCRIPTlON
NAME AND ADDRESS OF PAYEE PAYOR IF OTHER THAN DEBTOR AND VALUE OF PROPERTY
Vanden Bos And Chapman LLP 5I05 950.00

319 SW Washington St Ste 520
Portland, OR 97204-2620

 

10. Other transfers

None List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either

§ absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE, DESCRIBE PROPERTY TRANSFERRED
RELATIONSHIP TO DEBTOR DATE AND VALUE RECEIVED
Garage Sale 8/30/04 1971 MG car - $1,000.00

STATEMENT OF FlNANC|AL AFFA|RS

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No relation

 

11. Closed financial accounts

N°"° List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise

l:j transferred within one year immediately preceding the corrirnencement of this case, Include checking, savings, or other financial accounts,
certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, association,
brokerage houses and other financial institutions (Married debtors filing under chapter 12 or chapter 13 must include information concerning
accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

TYPE AND NUMBER OF ACCOUNT AMOUNT AND DATE OF SALE

NAME AND ADDRESS OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING

Wells Fargo Bank Checking Negative balance

Unitus Community Credit Union Checking and savings C|osed within last year $.23 in
2121 SW 4th Ave checking $5.00 in savings

Portland, OR 97201-4904

 

12. Safe deposit boxes

N°“E List each safe depositor other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
preceding the commencement of this case, (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

13. Setoffs

N°“€ List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

14. Property held for another person

N°“e List all property owned by another person that the debtor holds or controls.

NAME AND ADDRESS OF OWNER DESCRIPTION AND VALUE OF PROPERTY LGCATION OF PROPERTY
John And Kay Baird Misc. household items - unknown value Debtor's residence

3880 Garden Va|ley Rd

Roseburg, OR 97470-9221

 

15. Prior address of debtor

N°“e If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor occupied
during that period and vacated prior to the commencement of this case. lf a joint petition is filed, report also any separate address of either spouse.

 

16. Spouses and Former Spouses

N°“e lf the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, ldaho, Louisiana,
Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the commencement of
the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

 

17. Environmental Information
For the purpose of this question, the following definitions apply:

“Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous ortoxic substances,
wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
the cleanup of these substances, wastes or material

“Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
debtor, including, but not limited to, disposal sites.

“Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
or similar term under an Environmental Law.

 

N°“e a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
potentially liable under or in violation of an Environmental Law. lndicate the governmental unit, the date of the notice, and, if known, the
Environmental Law.

 

N°“e b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
the governmental unit to which the notice was sent and the date of the notice.

STATEMENT OF FlNANClAL AFFA|RS

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N°“e c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
is or was a party. lndicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

 

18. Nature, location and name of business

N°"" a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole proprietorship,
or was a self-employed professional within the six years immediately preceding the commencement of this case, or in which the debtor owned
5 percent or more of the voting or equity securities within the six years immediately preceding the commencement of this case.

lf the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six years immediately
preceding the commencement of this case.

If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six years immediately
preceding the commencement of this case.

 

N°“e b. ldentify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.

 

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
the six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more
than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or otherwise
self-employed

(An individual or joint debtor should complete this portion of the statement only ifthe debtor is or has been in business, as defined above, within the six
years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
signature page.)

 

19. Books, records and financial statements

N°“e a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
keeping of books of account and records of the debtor,

 

N°“e b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
and records, or prepared a financial statement of the debtor.

 

N°“e c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
debtor. lf any of the books of account and records are not available, explain.

 

N°“e d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued
M within the two years immediately preceding the commencement of the case by the debtor.

 

20. Inventories

N°“e a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
dollar amount and basis of each inventory.

 

N°“e b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.

 

21. Current Partners, Off`icers, Directors and Shareholders

N°“e a. lf the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership

 

N°“° b. lf the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
or holds 5 percent or more of the voting or equity securities of the corporation

 

22. Former partners, officers, directors and shareholders

N°“e a. lf the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
of this case.

 

N°“° b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
preceding the commencement of this case.

STATEMENT OF FlNANC|AL AFFA\RS

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23. Withdrawals from a partnership or distributions by a corporation

N°"‘“' lf the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
case.

 

24. Tax Consolidation Group

N°"€ lf the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of` any consolidated group for tax
purposes of which the debtor has been a member at any time within the six-year period immediately preceding the commencement of this case.

 

25. Pension Funds.

N°“e If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
has been responsible for contributing at any time within the six-year period immediately preceding the commencement of the case.

 

[If completed by an individual or individual and spouse]

l declare under penalty of perjury that l have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct

;/ , jt /"’ J/ ` ' f
Date: 3 ” 03 Signature fi'i"\}"’\§§( CQF/`_)
l

ofDebtor Gregg C. Baird

Date: Signature
of Joint Debtor
(if any)

 

0 continuation pages attached

Penaltyfor making a false statements Fine of up to $500, 000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 35 71 .

STATEMENT OF FINANClAL AFFAIRS

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United States Bankruptcy Court
District of Oregon

IN RE: Case No.

 

Baird, Greqq Chapman Chapter 7
Debtor(s)

CERTIFICATION PURSUANT TO LBR 1001-1.F3

l certify that the foregoing documents have been prepared by a computer and conform to the versions of the Official
Bankruptcy Forms available and applicable at this time.

The software utilized is EZ-Filing, developed by EZ-Filing, lnc., which is a computer software format authorized by the Clerk
of the Court.

§§ /:Y’

   

til/titlez §§ ii

CERTlF|CAT|ON PURSUANT TO LBR 1001-1.F3

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